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                               IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO

      DANIEL ROBERT                               *
      SSG, U.S. ARMY                              *
                                                  *
      HOLLIE MULVIHILL                            *
      SSGT, USMC                                  *
                                                  *
               Plaintiffs,                        *
                                                  *
                          v.                      *
                                                  *   Civil Action No. 1:21-CV-2228cv-
      002228

       DAN ROBERT, SSGT, U.S. ARMY,
       HOLLIE MULVIHILL, SSGT, USMC,
       and
       OTHER SIMILARLY SITUATED
       INDIVIDUALS,

            Plaintiffs,

       v.

       LLOYD AUSTIN, in his official capacity
       as Secretary of Defense,  U.S.
       Department of Defense,

       XAVIER BECERRA, in his official
       capacity as Secretary of the U.S.
       Department of Health and Human Services,


       JANET WOODCOCK, in her official
       capacity as Acting Commissioner of the
       U.S. Food & Drug Administration


            Defendants.


      LLOYD AUSTIN                                *
      Secretary of Defense,                       *
      U.S. DEPARTMENT OF DEFENSE                  *
      Washington, D.C. 20301                      *
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                                                            *
               and                                          *
                                                            *
      XAVIER BECERRA                                        *
      Secretary of the U.S. Department of                   *
      Health and Human Services                             *
      U.S. DEPARTMENT OF HEALTH                             *
      AND HUMAN SERVICES                                    *
                                                            *
               and                                          *
                                                            *
      JANET WOODCOCK, Acting                                *
      Commissioner of the Food & Drug                       *
      Administration                                        *
      U.S. FOOD AND                                         *
      DRUG ADMINISTRATION                                   *
                                                            *
      UNITED STATES OF AMERICA                              *
                                                            *
               Defendants.                                  *
      *        *     *     *              *        *        *        *        *        *        *        *


                                          AMENDED COMPLAINT



               Plaintiffs Staff Sergeant Daniel Robert, U.S. Army, and Staff Sergeant

      HolliHollie Mulvihill, USMC, individually and on behalf of all other similarly situated

      active duty, National Guard, and Reserve servicemembers, as documented survivors of

      COVID-19, file this action against the Department of Defense (“DoD”), seeking a

      declaratory judgment that the DoDservice members that are subject to Department of

      Defense (DOD) regulations, and who have been ordered to take a COVID-19 vaccine1 by

      order of the Secretary of Defense (SECDEF), Lloyd Austin, who is the current civilian

      appointee in that role. Plaintiffs file this action seeking a declaratory judgment and

      1
       Plaintiffs use the common vernacular “vaccine” to refer to the mRNA products in the complaint, but do
      not concede that these products qualify as such because they do not contain any live or attenuated – or even
      any piece – of the SARS-CoV-2 virus. These drugs are DNA-altering injectables designed to cause the
      body to mimic the ‘spike protein’ that is the relevant mechanism of harm of SARS-CoV-2 “COVID-19”.


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      injunction against the Defendants to prohibit them from inoculating Plaintiffs with

      unlicensed products in violation of the law. Plaintiffs claim that the DOD cannot force

      them to take a COVID-19 vaccination under existing military regulations, federal

      regulations, federal law, and the U.S. Constitution. The Secretary of Defense, Lloyd

      Austin (the “SECDEF”)DOD has publicly notified Plaintiffs, via MemoMemorandum by

      Defendant Austin, that he will seek authorization from the President of the United States

      of America (the “President”),they are to mandate the COVID-19 vaccine on or about

      September 15, 2021. Upon informationbe vaccinated immediately. Each of the services

      have promulgated orders and belief, the DoD is instructions effectuating this requirement.

             SECDEF and DOD are already vaccinatingcoercing and forcing military members

      to be injected with unlicensed drugs in flagrant violation of its legal obligations and the

      rights of servicemembers under federal law and the U.S. Constitution. Federal statutes 10

      U.S.C. §1107 and 10 U.S.C. §1107a prohibit the use of any unlicensed vaccines

      whatsoever on service members without their informed consent without an express

      Presidential waiver of Plaintffs’ rights. Plaintiffs seek declaratory and injunctive relief

      because the DoD is using an Emergency Use Authorization (“EUA”) COVID-19 vaccine

      in violation of 21 U.S.C. §360bbb-3 (the EUA statute), 10 U.S.C. §1107a, DoD Directive

      6200.02, the FDA regulation of biologics at 21 C.F.R. §50 et seq., as well as the law

      regarding informed consent 50 U.S.C. 1520 (“The Nuremburg Code”).

             As documented survivors of COVID-19, Army Regulation 40-562 (“(AR 40-

      562”)) provides documented survivors of an infection,anyone who has already had a

      virus a presumptive medical exemption from vaccination because of the natural immunity

      acquired as a result of having survived thesuch an infection. “General examples of




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      medical exemptions include the following… Evidence of immunity based on serologic

      tests, documented infection, or similar circumstances.” AR 40-562, ¶2-6a.(1)(b).

      Plaintiffs also seek a declaratory judgment on the separate basis that the Emergency Use

      Authorization (“EUA”) DoD COVID-19 Vaccine mandate, which they have been

      notified is imminent, cannot be issued in violation of 10 U.S.C. §1107 and its

      implementing regulations, including DoD Directive 6200.2, the FDA regulation of

      biologics at 21 C.F.R. § 50 et seq., as well as the law regarding informed consent 50

      U.S.C. 1520 (“The Nuremburg Code”).Defendants are systematically denying Plaintiffs

      these exemptions in violation of DOD regulations.

             Neither the President, nor the SECDEFSecretary of Defense, nor the Secretary of

      the Department of Health and Human Services, nor the Secretary of the Food and Drug

      Administration have complied with the requirements of those controlling pieces of

      federal law. Therefore, any forcedinvoluntary vaccination of Plaintiffs would be/are

      being administeredis in blatantdirect violation of federal law, the attendantU.S. statutes,

      applicable regulations under the Code of Federal Regulations, and the U.S Constitution,

      denying. Plaintiffs due process of law and violatingwho have already had COVID-19 are

      being denied Equal Protection of the laws under the 14th Amendment by being treated

      differently than their bodies.similarly situated peers in the military who have only

      simulated immunity from an mRNA injectable, while Plaintiffs have at least as effective

      naturally acquired immunity through exposure to the complete virus.

             Plaintiffs seek this relief pursuant to 10 U.S.C. §§1107 and 1107a, the

      Administrative Procedures Act, 5 U.S.C. §702, et seq., the Federal Declaratory Judgment

      Act, 28 U.S.C. § 2201, and the All Writs Act, 28 U.S.C. §1651. PlaintiffPlaintiffs also




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      seek temporary and permanent injunctive relief preventing their forced vaccination

      attendant to their claims for declaratory judgment.

                                              PARTIES

             1.      Staff Sergeant Daniel Robert, U.S. Army, is a Drill Sargent andan

      infantryman currently on active duty stationed at Fort Bragg, North Carolina.

             2.      Staff Sergeant HolliHollie Mulvihill, USMC, is an air traffic controller

      currently on active duty stationed at MCAS New River, North Carolina.

             3.      That class of people in the Armed Forces who are similarly situated to the

      named Plaintiffs and subject to the mandatory declarations and orders of the Department

      of Defense in relation to the compulsory use of Covid-19 vaccines.

             3.4.    Defendant, U.S. Department of Defense (“DoD”), is an agency of the

      United States Government. It is led by SECDEFSecretary of Defense Lloyd Austin who

      has publicly stated thaton or about 24 August 2021 directed the Department will seek

      authorization of the President to begin mandating themandatory vaccination of the force

      on or about September 15, 2021service members, beginning immediately.

             4.5.    Defendant, Department of Health and Human Services (“(HHS”),) is an

      agency of the United States Government. It is led by Secretary Xavier Becerra.

             5.6.    Defendant, Food and Drug Administration (“FDA”),”) is an agency of the

      United States Government. It is led by acting Secretary Janet Woodcock.

                                CLASS ACTION ALLEGATIONS

             6.7.    This action is brought by the Plaintiffs on their own behalf and on behalf

      of the class of all other military members similarly situated, under the provisions of Fed.

      R. Civ. P. (“FRCP”) 23(a) and (b).




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             7.8.    The class so represented by the Plaintiffs consists of (at least) the active

      duty and reserve component members of the United States Armed Forces and, National

      Guard members affected by this order who either have already caught and recovered

      from COVID-19, documented and reported it to superiors and have been or will be as

      well as all service members ordered to take any COVID-19 vaccine for this public health

      mandatepursuant to the SECDEF order.

             8.9.    The exact number of members of thethis class described above is not

      precisely known, but there are currently in excess of 1.8 million members of the active-

      duty component of the Armed Forces. subject to this order. The class is so numerous that

      joinder of individual members is impracticable, if not impossible.

             9.10.   The relief sought is common to the entire class and there are common

      questions of law and fact that relate to and affect the rights of each class member. These

      common questions include the exact legal status under 21 U.S.C. §355 of any of the

      COVID-19 vaccines against COVID-19 that the military is using on members now and

      will use in the future; whether the vaccines are properly licensed or being used under a

      Presidential waiver pursuant to a specific request from the SECDEF,Defendant Austin

      under 10 U.S.C. §1107;, or pursuant to the Emergency Use Authorization under 10

      U.S.C. §1107a; and whether Defendant Austin is following the requirements of his own

      regulations. Certain defenses raised by the proper findings and requests have been made

      regarding Plaintiffs would apply equally to all members of the nature and duration of the

      military exigency that requires a waiver of informed consent under DoD Instruction

      (“DoDI”) 6200.02. class.

             10.11. The Plaintiffs’ claims are typical of the claims all members of the class




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      could make depending upon the exact nature of the vaccines and each Defendant’s

      actions with regard to their legal obligations. There is no conflict between Plaintiffs and

      other members of the class with respect to this action or with respect to the claims for

      relief made herein. Indeed, Plaintiffs’ claims would also apply to any military member

      ordered to take the vaccine, or who meets the requirements for medical exemption under

      AR 40-562, ¶2-6a(1)(a) or (1)(b).

              11.12. The Plaintiffs are representative parties for the class and are able to fairly

      and adequately protect the interests of the class. The attorneys for the Plaintiffs are

      experienced and capable in litigating the claims at issue and have engaged in substantial

      litigation on similar issues to these in previous litigation. Attorneys Todd Callender,

      Colton Boyles, David Willson,John Michels Jr., and Dale Saran will actively conduct and

      be responsible for the conduct of the action on behalf of the plaintiff class.

              12.13. This action is properly maintained as a class action because the

      prosecution of separate actions by individual members of the class would create a risk of

      individual adjudications to class members that would, as a practical matter, be dispositive

      of the interests of others not party to the litigation or would substantially impair or

      impede their ability to protect their interests.

              13.14. This action is properly maintained as a class action because the mixed

      questions of law and fact common to the members of the class predominate over any

      questions affecting only individual members and a class action is superior to other

      available methods of fair and efficient adjudication of the controversy.

                                    JURISDICTION AND VENUE

              14.15. There is a legitimate controversy because the Plaintiffsplaintiffs in this




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      case are already or about to behave been ordered to take an “Investigational New Drugs”,

      as defined in 21 CFR 56.104(c) (“IND”), or drug unapproved for its applied use, or EUA

      (experimental) vaccine for a virus without their informed consent and/or from which they

      already have the maximum possible systemichave natural immunity by virtue of their

      immune systems having already defeated it; and for which they, therefore, have no

      need.recovered from the virus. The orders are a clear violation of the provisions of 10

      U.S.C.§ 1107 and 10 U.S.C. §1107a, as well as a violation of DOD regulations regarding

      vaccine exemptions for previously infected personnel. This case also implicates the most

      fundamental of all human rights, the right of a person to bodily integrity and to make

      their own choices about what will be put into their body. Upon information and belief,

      the DoDThe case is neither speculative nor hypothetical as Defendant DOD has already

      begun coercing and vaccinating members in violation of its legal obligations.

             16.     Jurisdiction is proper in this Court under the Administrative Procedures

      Act, 5 U.S.C. §702, the Declaratory Judgment Act, 28 U.S.C. §2201, and under

      15.            28 U.S.C. §§1331, 1346, and 1361.

             16.17. Venue is proper in this Court pursuant to 28 U.S.C. §1402 where members

      of the Plaintiff class are present in the district and directly impacted by the proposed

      order as members, leadership, and the physically located in the district aboard military

      reservations of the Defendant DoD in this Court’s jurisdictionand are directly affected by

      the proposed order.

                                    FACTUAL BACKGROUND

             17.     Army Regulation 40-562, “Immunization and Chemoprophylaxis for the




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      Prevention of Infectious Diseases”2 presumptively exempts from any vaccination

      requirement a service member that the military knows has had a documented previous

      infection.

             18.1.   Plaintiffs, individually and as a class, have all previously suffered and

      recovered from COVID-19 infections with the development of natural immunity as

      demonstrated to or documented by the military.

             19.     AR 40-562 was signed on Oct. 7, 2013, went into effect on Nov. 7, 2013,

      and remains in effect today. It applies to all branches of the military. The Regulation also

      applies whether the proposed COVID-19 vaccines it seeks to administer to Plaintiffs and

      the class are IND, as an IND under EUA, 21 USC Sec. 360bbb-3, or as a fully approved

      FDA vaccine.

             20.     Plaintiffs and the proposed Plaintiff class of documented COVID-19

      survivors file this lawsuit now upon information and belief that service members across

      the services have already been given a COVID-19 vaccine by the military without any of

      the proper political officials having complied with their legally mandated obligations under

      federal law, specifically 10 U.S.C. §1107 and its implementing instructions.

             18.     Long established precepts of virology demonstrate that the immunity

      provided by recovery from actual infection is at least as pronounced and effective, if not

      many times more so, than any immunity conferred by a vaccine. This is no less true of

      COVID-19. See Exhibit 1On 23 August 2021 Defendant FDA issued a “BLA Approval”

      letter to vaccine manufacturers Pfizer, Inc. (“Pfizer”) and Pfizer’s partner, BioNTech


      2
        This document is an all-service publication and has an equivalent name for each of the
      applicable services. We have chosen to use the Army designation throughout for ease, but
      these arguments apply equally under AFI 48-110, BUMEDINST 6230.15B,
      COMDETINST M6230.4G. See, AR 40-562, ¶2-6a.(1)(b).


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      Manufacturing Gmbh, in Mainz, Germany. The letter reflects FDA’s issuance of a U.S.

      license to manufacture and market a COVID-19 vaccine labeled with the proprietary

      name “COMIRNATY.” See Exhibit 9, BLA Approval Letter, pp. 1-2, 23 Aug 2021.

             19.        On the same date, 23 August 2021, RADM Denise Hinton, Chief Scientist

      of Defendant FDA, sent a letter to Pfizer advising it that the Emergency Use

      Authorization (“EUA”) previously issued by the FDA for Pfizer-BNT162b2 COVID-19

      vaccine (“Pfizer BNT”) would remain in place. The letter specifically states that the

      Pfizer-BNT produced vaccine is “legally distinct” from the COMIRNATY vaccine. See

      Exhibit 10, Hinton Letter to Pfizer Inc., fn. 8 and 9, 23 Aug 2021.

             20.        Also on 23 August 2021, Pfizer issued a notice to “Health Care

      Professionals” indicating that while most of the Pfizer-BNT vaccine was only usable

      under its current EUA, several lots of the vaccine were in compliance with the 23 August

      2021 BLA Approval Letter from FDA for COMIRNATY and therefore licensed for

      administration to individuals 16 years of age and older. Seven production lots were

      identified as being covered by the BLA approval. The memo clearly notes that all other

      lots of the Pfizer-BNT vaccine remained EUA and were not subject to the BLA license

      for COMIRNATY issued by the FDA. See Exhibit 11, Boyce Letter, Notice to

      Healthcare Professionals, 23 Aug 2021.

             21.        Also on 23 August 2021, Pfizer and BioNTech issued a COVID-19

      “Vaccine EUA Fact Sheet for Recipients and Caregivers.” The fact sheet states in

      pertinent part:

             “This EUA for the Pfizer-BioNTech COVID-19 Vaccine and COMIRNATY will
             end when the Secretary of HHS determines that the circumstances justifying the
             EUA no longer exist or when there is a change in the approval status of the
             product such that an EUA is no longer needed.”



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      (Emphasis added). See Exhibit 12, Vaccine EUA Fact Sheet, pg. 8, last sentence, 23
      August 2021.

             22.     The FDA’s website and documents also list the Pfizer-BNT vaccine as

      being under an EUA; the labeling for the vaccine also continues to show that the Pfizer-

      BNT vaccine is an EUA product as of the date of the filing of this Amended Complaint.

             23.     On 24 August 2021, Defendant Austin issued a DOD-wide Memorandum

      directing “the Secretaries of the Military Departments to immediately begin full

      vaccination of all members of the Armed Forces under DOD authority on active duty or

      in the Ready Reserve, including the National Guard who are not fully vaccinated against

      COVID-19.”

             24.     Defendant Austin’s memo states that, “Those with previous COVID-19

      infection are not considered fully vaccinated.”

             25.     Defendant Austin’s Memorandum further states that, “Mandatory

      vaccination against COVID-19 will only use COVID-19 vaccines that receive full

      licensure from the Food and Drug Administration…” (emphasis added). See Exhibit 13,

      SECDEF Memo of 24 Aug 2021.

             26.     Commanders within Defendant DOD moved quickly to begin vaccination

      of their units of following Defendant Austin’s Memorandum. Because there was no

      COMINARTY vaccine available, all DOD units are using the EUA Pfizer-BNT vaccine

      that is not yet licensed by FDA. See Exhibit 14, Office of The Judge Advocate General

      SJA Update, pg. 2, 10 September 2021.

             27.     In fact, various units within DOD received guidance that they could

      involuntarily vaccinate service members with unlicensed vaccines. This was ultimately




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      expanded to a service-wide practice. See Exhibit 15, Asst. Secretary of Defense

      Memorandum “Mandatory Vaccination of Service Members Using the Pfizer-BioNTech

      COVID-19 and COMIRNATY COVID-19 Vaccines,” 14 September 2021; Exhibit 16,

      Dept. of the Navy, Bureau of Medicine and Surgery Memorandum, Subject:

      Interchangeability of the FDA-Approved Pfizer-BioNTech Vaccine COMIRNATY and

      FDA-Authorized Pfizer-BioNTech Vaccine Under EUA, 3 September 2021.

             28.     As of the filing of this Amended Complaint, no COMINARTY vaccine

      has been used in the thousands of involuntary inoculations administered by Defendant

      DOD. In addition, there has been no attempt by DOD to identify or use only vaccine from

      the seven lots apparently covered by the FDA license. DOD organizations, in violation of

      federal law and SECDEF Austin’s explicit direction, are using an unlicensed vaccine to

      inoculate service members based on DOD guidance that COMINARTY and Pfizer-BNT

      are “interchangeable.” See Exhibit 10, at pg. 2.

             29.     Failure by service members to submit to the illegal orders of their

      superiors requiring vaccination are and will result in administrative, non-judicial, and

      judicial punishment under the Uniform Code of Military Justice and service regulations.

      Id.

             21.     There are significant, critical legal limitations on DOD’s ability to

      involuntarily inoculate service members. with attached CV, Expert Medical opinion of Dr.

      Peter A. McCullough, M.D., M.P.H. “Following the science” as it relates to COVID-19

      validates and reaffirms the wisdom of maintaining long-established virology protocol,

      most recently codified in AR 40-562 in 2013.

             22.     Service members that have natural immunity, developed from surviving the




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      virus, should be granted a medical exception from compulsory vaccination because the

      DoD Instruction policy reflects the well-established understanding that prior infection

      provides the immune system’s best possible response to the virus. “COVID-19 did not

      occur in anyone over the five months of the study among 2,579 individuals previously

      infected with COVID-19, including 1,359 who did not take the vaccine.” See, e.g., Exhibit

      2, Necessity of COVID-19 vaccination in previously infected individuals, Shrestha, Burke,

      et al., Cleveland Clinic.3

             23.     Plaintiffs and the Plaintiff class should be exempted from compulsory

      vaccination regardless of the legal status of the vaccines with the FDA because the

      requirements to vitiate a military service member’s right to informed consent have not been

      met and cannot be met by the Defendants.

             24.30. Federal law only allows the forced vaccination of service members with

      an IND or unlicensed vaccine after the SECDEFSecretary of Defense has complied with

      all of the legal requirements of 10 U.S.C. §1107 or §1107a, depending upon the status of

      the vaccine.

             31.     10 U.S.C. §1107 states in pertinent part:

          (a) Notice Required.

          (1) Whenever the Secretary of Defense requests or requires a member of the armed

      forces at the end to receive an investigational new drug or a drug unapproved for its

      applied use, the Secretary shall provide the member with notice containing the

      information specified in subsection (d)…



      3
       Plaintiffs have included a small sample of studies demonstrating the superiority of
      naturally acquired immunity over novel mRNA vaccines with, which have no established
      safety history and unknown side-effects. See, e.g., Exhibits 3-8.


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             (f) Limitation and Waiver.—

                   (1) In the case of the administration of an investigational new drug or a drug

                   unapproved for its applied use to a member of the armed forces in connection

                   with the member’s participation in a particular military operation, the

                   requirement that the member provide prior consent to receive the drug in

                   accordance with the prior consent requirement imposed under section

                   505(i)(4) of the Federal Food, Drug, and Cosmetic Act (21 U.S.C. 355(i)(4))

                   may be waived only by the President. The President may grant such a

                   waiver only if the President determines, in writing, that obtaining consent is

                   not in the interests of national security. (emphasis added).

             32.       10 U.S.C. 1107a states in pertinent part:

         (a) Waiver by the President —

                   (1) In the case of the administration of a product authorized for emergency use

                   under section 564 of the Federal Food, Drug, and Cosmetic Act to members of

                   the armed forces, the condition described in section 564(e)(1)(A)(ii)(III) of

                   such Act and required under paragraph (1)(A) or (2)(A) of such section

                   564(e), designed to ensure that individuals are informed of an option to accept

                   or refuse administration of a product, may be waived only by the President

                   only if the President determines, in writing, that complying with such

                   requirement is not in the interests of national security (emphasis added).

             33.      As of the date of this filing, there has been no such waiver of

      servicemembers’ right to informed consent issued by the President of the United States.

             25.34. DoD Instruction 6202.02 (“DoDI”) states (in part) that: –




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                 The Heads of DoD Components:
                 …Shall, when requesting approval to use a medical product under an EUA or
         IND application, develop, in coordination with the Secretary of the Army, medical
         protocols, compliant with this Instruction, for use of the product and, if the request is
         approved, execute such protocols in strict compliance with their requirements…[;]
                 …Shall, when using medical products under a force health protection program
         pursuant to an EUA, comply with Enclosure 3, Federal Food Drug and Cosmetic Act
         section 564 (Reference (d)), section 1107a of Reference (e) and applicable FDA
         requirements.[;]
                 …Shall, when using medical products under a force health protection program
         pursuant to an IND application, comply with Enclosure 4, section 1107 of 10 U.S.C.,
         and applicable provisions of References (e) through (g). Requirements applicable to
         the use of medical products under an IND application do not apply to the use of
         medical products under an EUA within the scope of the EUA.

             26.35. One of the (many) obligations that theDefendant SECDEF Austin has with

      respect to use of either an IND/drug unapproved for its applied use (under §1107) or an

      EUA (under §1107a) is to provide detailed, written notice to the servicemember that

      includes information regarding (1) the drug’s status as an IND, unapproved for its applied

      use, or EUA; (2) “[t]he reasons why the investigational new drug or drug unapproved for

      its applied use is being administered[;]” and (3) “the possible side effects of the

      investigational new drug or drug unapproved for its applied use, including any known

      side effects possible as a result of the interaction of such drug with other drugs or

      treatments being administered to the members receiving such drug.”

             27.36. FederalThis federal law also requires that theDefendant SECDEF

      requestsAustin’s request to the President Biden for a written authorization to

      waivewaiver of a servicemember’sservice member’s right to informed consent include

      the certification that such vaccination is required as to a particular member’s participation

      in a specified military operation that contains the following additional criteria:

                     (i) The extent and strength of evidence of the safety and effectiveness of

         the Investigational New Drug in relation to the medical risk that could be encountered



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         during the military operation, supports the drug’s administration under an IND; and

                      (ii) The specified military operation presents a substantial risk that military

         personnel may be subject to a chemical, biological, nuclear, or other exposure likely

         to produce death or serious or life-threatening injury or illness; and

                      (iii) That there is no available satisfactory alternative therapeutic or

         preventive treatment in relation to the intended use of the investigational new drug;

         and

                      (iv) that conditioning the use of the investigational new drug upon

         voluntary participation of each member could significantly risk the safety and health

         of any individual member who would decline its use, the safety of other military

         personnel, and the accomplishment of the military mission[,] which remains

         undefined at this time (emphasis added). […]

               28.    The relevant Defendants have not complied with these requirements and

      upon information and belief have been engaged in an ongoing pattern of intentional

      vaccination of servicemembers in knowing violation of these obligations and

      servicemembers’ rights.

      At this time, no such military mission has been defined.

               29.37. The applicable section of the Federal Food, Drug, and Cosmetic Act (Title

      21, Chapter 9) regarding EUAEmergency Use Authorization of biologics for theon

      military members is found at 2110 U.S.C. §360bbb-3. It contains1107a. This statute also

      requires nothing less than a lengthy listwritten Presidential waiver of requirements for

      either the Secretary of the Department of Homeland Security, the Secretary of Defense,

      the Secretary of the FDA, including detailed findings regarding the exact military




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      contingency that the Secretary of Defense has used to go to the President in order to

      override servicemembers’service members’ right ofto informed consent before the

      administration of any EUA drug or device.

               30.38. The DefendantsDefendant Secretaries have not complied and cannot

      comply with the law and their respective requirements to support the DoD’s actions in

      vitiating the informed consent rights of servicemembers regarding these unapproved

      biologics because:

               (a) these drugs are not being used in response to any specific military threat in a

      theater of operations, but rather are a naked attempt to leverage the Plaintiffs’ military

      status against them in orderbeing used to move forward with an unnecessary public

      health mandate;

               (b) there is near zero risk to healthy, fit, young men and women of the U.S.

      Armed Services to COVID-19, and

               (c) there are numerous safe, long-standing, proven alternative treatments (, such

      as ivermectin, “anti-infective oral and nasal sprays and washes, oral medications, and

      outpatient monoclonal antibodies, which are ‘approved’ drugs by the Food and Drug

      Administration and highly effective in preventing and treating COVID-19”)4, and the

      existence of such treatments is a legal bar to the use of an EUA or IND without informed

      consent.under 21 U.S.C. §360bbb-3(c)(3)(“The Secretary may issue an authorization

      under this section with respect to the emergency use of a product only if…the Secretary

      concludes… that there is no adequate, approved, and available alternative to the product

      for diagnosing, preventing, or treating such disease or condition[.]”).



      4
          See Exhibit 1, Expert Medical Opinion of Dr. Peter McCullough.


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             39.     In addition, Army Regulation 40-562 “Immunization and

      Chemoprophylaxis for the Prevention of Infectious Diseases”5 presumptively exempts

      from any vaccination requirement a service member that the military knows has had a

      documented previous infection.

             40.     Plaintiffs, individually, and as class members have previously suffered and

      recovered from COVID-19 infections with the development of natural immunity as

      demonstrated to or documented by the military.

             41.     AR 40-562 was signed on Oct. 7, 2013, went into effect on Nov. 7, 2013,

      and remains in effect today. It applies to all branches of the military. The Regulation also

      applies whether the proposed COVID-19 vaccines Defendant DoD seeks to administer to

      Plaintiffs and the class are “Investigational New Drugs” as defined in 21 CFR 56.104(c)

      (“IND”), an IND under Emergency Use Authorization, 21 USC Sec. 360bbb-3 (“EUA”),

      or a fully approved FDA vaccine for other illnesses such as chicken pox, measles, or

      mumps, for example.

             42.     At the time of Defendant Austin’s memorandum, there was more than

      sufficient evidence to establish that previous infection with COVID-19 provided greater

      immunity to an individual that the Pfizer-BNT or COMIRNATY vaccine. See Exhibit 1

      of original complaint with attached CV, Expert Medical opinion of Dr. Peter A.

      McCullough, M.D., M.P.H. See also “Comparing SARS-CoV-2 natural immunity to

      vaccine-induced immunity: reinfections versus breakthrough infections,” Gazit,

      Shlezinger, et al., (preprint study examining ~26% of the Israeli population from Mar. 1,


      5
        This document is an all-service publication and has an equivalent name for each of the
      applicable services. We have chosen to use the Army designation throughout for ease, but
      these arguments apply equally under AFI 48-110, BUMEDINST 6230.15B,
      COMDETINST M6230.4G. See, AR 40-562, ¶2-6a.(1)(b).


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      2020 – Aug. 14, 2021)6.

             43.     Service members that have natural immunity from surviving the virus

      should be granted a medical exception from compulsory vaccination because the DoD

      Instruction reflects the well-established understanding that prior infection provides the

      immune system’s best possible response to the virus, as opposed to simulated infection

      with something other than the virus itself. “COVID-19 did not occur in anyone over the

      five months of the study among 2579 individuals previously infected with COVID-19,

      including 1359 who did not take the vaccine.” See, e.g., Exhibit 2 to original complaint,

      Necessity of COVID-19 vaccination in previously infected individuals, Shrestha, Burke,

      et al., Cleveland Clinic.7 “Following the science” as it relates to COVID-19 validates and

      reaffirms the wisdom of maintaining long-established virology protocol, codified by

      Defendant DOD’s own experts in AR 40-562 in 2013.

             44.     At a minimum, Defendant DOD should be ordered to stop its universal

      vaccination policy of all personnel, even with the licensed product when it becomes

      available, until DOD can assess the immunological condition of COVID-19 survivors

      within its ranks and decide whether the vaccination is necessary to provide a desired level

      of protection or immunity.

                               FIRST CAUSE OF ACTION
                   (VIOLATION OF ADMINISTRATIVE PROCEDURE ACT)

             31.45. Plaintiffs reallege theall facts in Paragraphs 1 through 3044 as if fully set

      forth in this Count.


      6
        Available for download here: https://doi.org/10.1101/2021.08.24.21262415
      7
        Plaintiffs’ original complaint included Exhibits 3-8, a sample of studies demonstrating
      the superiority of naturally acquired immunity over novel mRNA vaccines, which have
      no established safety history and unknown side-effects. Those Exhibits are hereby
      incorporated into the Amended Complaint.


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             32.46. The United States GovernmentDefendant DOD, acting through the DoDits

      Secretary, violated its own regulations, DoDI 6200.02 and AR 40-562, by ignoring the

      Plaintiffs right to informed consent and vaccinating members of the armed forces without

      complying with applicable federal law and implementing regulations.

             33.47. The Defendants’ failure to follow federal law and regulations creates a

      legal wrong against the Plaintiffs.

             34.48. As a result of Defendants’the defendants’ unlawful actions, the Plaintiffs

      have suffered or will suffer damages, including being required to take an

      unnecessaryunlicensed drug of unknown long-term safety profile; being subject to or

      threatened with disciplinary action under the Uniform Code of Military Justice

      (“UCMJ”), to include adverse administrative action; enduring differential treatment,

      including being segregated from eating with one’s fellow service members in the military

      dining facilities and subject to ridicule; being denied leave and/or freedom of movement,

      among others, as a result of Defendants’ illegal scheme and actions.(UCMJ), including

      adverse administrative action that would characterize Plaintiffs’ voluntary service as

      “other than honorable.”

                                  SECOND CAUSE OF ACTION

                                 (VIOLATION OF 10 U.S.C. §1107)

             35.49. Plaintiffs reallege the facts in Paragraphs 1 through 3044 as if fully set

      forth in this Count.

             36.50. This case involves an actual controversy surrounding the legality of any

      orders or actions the DoD has taken with regard to vaccinating service members against

      COVID-19 in the absence of the Secretaries and DoD’s moral and statutory obligations.




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             37.51. The United States Government, acting through the DoD, violated a federal

      statute, namely 10 U.S.C. §1107, as well as DoDI 6200.02, when it illegally required or

      stated it would require or mandate members of the class of Plaintiffs who have already

      had the virus to submit to COVID-19 vaccinations inwith an unlicensed IND, or a

      vaccine “unapproved for theirits applied use” status.

             38.52. As a result of Defendants’the defendants’ unlawful actions, the Plaintiffs

      have suffered damages, including being required to take an unnecessaryunlicensed drug

      of unknown long-term safety profile; being subject to or threatened with disciplinary

      action under UCMJ, to include adverse administrative action; enduring differential

      treatment, including being segregated from eating with one’s fellow service members in

      the military dining facilities and subject to ridicule; being denied leave and/or freedom of

      movement, among others, as a result of the Defendants’ illegal scheme and actions.the

      Uniform Code of Military Justice (UCMJ), or adverse administrative action that would

      characterize Plaintiffs’ voluntary service as “other than honorable.”

                                   THIRD CAUSE OF ACTION

                                (VIOLATION OF 10 U.S.C. §1107a)

             39.53. Plaintiffs reallege the facts in Paragraphs 1 through 3044 as if fully set

      forth in this Count.

             40.54. This case involves an actual controversy surrounding the legality of any

      orders or actions the DoD has taken with regard to vaccinating service members against

      COVID-19 in the absence of the Secretaries and DoD’s moral and statutory obligations.

             41.55. The United States Government, acting through the DoD, HHS, and FDA,

      violated a federal statute, namely 10 U.S.C. §1107a, as well as 21 U.S.C. §355, and DoDI




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      6200.02, when it illegally required or threatened to mandate members of the class of

      Plaintiffs who have already had the virus, to submit to COVID-19 vaccinations in an

      EUA status. Even though not currently lawfully mandated by SECDEF and other

      Defendants, many Plaintiffs, e.g., service members, have been ordered, or coerced by

      virtue of military structure and rank, to submit to taking the vaccine.

             42.56. As a result of the Defendants’ unlawful actions, the Plaintiffs have

      suffered damages, including being required to take an unnecessaryunlicensed drug of

      unknown long-term safety profile; being subject to or threatened with disciplinary action

      under the Uniform Code of Military Justice (UCMJ, to include ), and including adverse

      administrative action; enduring differential treatment, including being segregated from

      eating with one’s fellow that would characterize Plaintiffs’ voluntary service members in

      the military dining facilities and subject to ridicule; being denied leave and/or freedom of

      movement, among others, as a result of the Defendants’ illegal scheme and actions.“other

      than honorable.”

                                  FOURTH CAUSE OF ACTION

                                 (VIOLATION OF 50 U.S.C. §1520)

             43.57. Plaintiffs reallege the facts in Paragraphs 1 through 3044 as if fully set

      forth in this Count.

             44.58. This case involves an actual controversy surrounding the legality of any

      orders or actions the DoD has taken with regard to vaccinating service members against

      COVID-19 in the absence of the Secretaries and DoD’s moral and statutory obligations.

             45.59. The United States Government, acting through the DoD, HHS, and FDA,

      violated a federal statute, namely 50 U.S.C. §1520, when it illegally required members of




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      the class of Plaintiffs who have already had the virus to submit to COVID-19

      vaccinations in any FDA status. The right of informed consent is one of the sacrosanct

      principles that came out of the Nazi Doctor Tribunals conducted at Nuremburg. The

      overriding legal principle was that no State, not even the United States, may force its

      citizens to undergo unwanted medical procedures merely by declaring an emergency.8

             60.       As a result of Defendants’As a result of the defendants’ unlawful actions,

      the Plaintiffs have suffered damages, including being required to take an unlicensed drug

      of unknown long-term safety profile; being subject to or threatened with disciplinary

      action under the Uniform Code of Military Justice (UCMJ), and including adverse

      administrative action that would characterize Plaintiffs’ voluntary service as “other than

      honorable.”

                                    FOURTH CAUSE OF ACTION

             (VIOLATION OF THE FOURTEENTH AMENDMENT TO THE U.S.

                                            CONSTITUTION)

             61.       Plaintiffs reallege the facts in Paragraphs 1 through 44 as if fully set forth

      in this Count.

             62.       This case involves an actual controversy surrounding the legality of any



      8
        If this were the correct legal principle, then the Nazi doctors were wrongly tried and
      convicted as Germany was in a declared state of emergency at the time of the Nazi
      medical experiments. Indeed, “[a]mong the nonconsensual experiments that the tribunal
      cited as a basis for their convictions were the testing of drugs for immunization against
      malaria, epidemic jaundice, typhus, smallpox and cholera.” Abdullahi v. Pfizer, 562 F.3d
      163, 178 (2nd Cir. 2009)(quoting United States v. Brandt, 2 Trials of War Criminals
      Before the Nuremberg Military Tribunals Under Control Council Law No. 10, 181-182
      (1949)(emphasis added).




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      orders or actions the DoD has taken with regard to vaccinating service members against

      COVID-19.

             63.     The United States Government, acting through Defendant DOD, has

      violated the class Plaintiffs’ Equal Protection rights under the Fourteenth Amendment by

      making arbitrary, unscientific, unsupportable distinctions between Plaintiffs, who have

      naturally acquired immunity, and other similarly situated military members who have

      only artificially induced immunity through mRNA injectables. The scientific evidence

      shows that vaccines (a) do not stop reinfection among the vaccinated, and (b) do not stop

      spread of the virus by the vaccinated. Thus, there is no impact on good order and

      discipline or the health of the Total Force by Plaintiffs who have already had COVID-19

      remaining unvaccinated; and no logical reason why the class of Plaintiffs should be

      treated any differently than their peers.

             46.64. As a result of the defendants’ unlawful actions, the Plaintiffs have suffered

      damages, including being required to take an unnecessaryunlicensed drug of unknown

      long-term safety profile; being subject to or threatened with disciplinary action under the

      UCMJ, to include adverse administrative action; enduring differential treatment,

      including being segregated from eating with one’s fellow service members in the military

      dining facilities and subject to ridicule; being denied leave and/or freedom of movement,

      among others, as a result of the Defendants’ illegal scheme and actions.Uniform Code of

      Military Justice (UCMJ), and including adverse administrative action that would

      characterize Plaintiffs’ voluntary service as “other than honorable.”



      WHEREFORE, Plaintiffs respectfully ask this Court to:




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             A.      Find that the use of investigational new drugs or drugs unapprovedPfizer-

                     BNT COVID-19 vaccine for their applied use isforcible inoculation of

                     U.S. military members to be illegal until and unless the Secretary of

                     Defense complies with his statutory requirements in requesting a waiver of

                     informed consent and until the President makes the requisite finding under

                     10 U.S.C. §1107; and

             B.      Find that all members of the Plaintiffs’ class that have survived infection

                     with COVID-19 are still entitled to a medical exemption from vaccination

                     even after the Defendants have complied with their legal obligations under

                     the implementing DoDI 6200.02;

             Alternatively, ifIf applicable,

             C.      Find that the use of vaccines under an EUA is illegal until and unless all of

                     the Defendants comply with their statutory obligations in requesting a

                     waiver of informed consent under 10 U.S.C. §1107a and the implementing

                     regulations and laws;

             D.      Find that all members of the Plaintiffs’ class are still entitled tothat have

                     survived infection with COVID-19 are entitled to individual assessment to

                     determine their eligibility for a medical exemption from vaccination even

                     after the Defendants have complied with their legal obligations under

                     DoDI 6200.02;

      Plaintiffs also ask this Honorable Court to:

             E.      Find and declare that any order issued by DoD requiring the Plaintiffs to

                     receive inoculation with COVID-19 vaccines are patentlyper se unlawful;




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             F.     Enjoin the DoD from vaccinating any service members until this action

                    has completed and the status of any vaccine has been determined and the

                    requirements for taking away Plaintiffs’ rights of informed consent have

                    been met; and

             G.     Award Plaintiffs their costs and attorneys’ fees and any other relief this

                    Court may find appropriate.


      Date: August 17September 29, 2021

                                                   Respectfully submitted,


                                                       /s/ Todd S. Callender

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